UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
__________________________________
                                      :
Sarah Clark,                          :
                                      :
                                        Civil Action No.: 3:15-cv-00365-RNC
                   Plaintiff,         :
                                      :
      v.                              :
                                      :
Century Financial Services, Inc.; and :
DOES 1-10, inclusive,                 :
                                      :
                   Defendant.         :
__________________________________ :

                             STIPULATION OF DISMISSAL

        WHEREAS, the parties to the above-entitled action have resolved the issues

alleged in the complaint in this action, and have negotiated in good faith for that

purpose; and

        WHEREAS, none of the parties to the above-captioned action is an infant or

incompetent person; and

        WHEREAS, the parties in the above-captioned action wish to discontinue the

litigation;

IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-

captioned action is hereby dismissed in its entirety with prejudice and without costs to

any party. The Court will retain jurisdiction to enforce the terms of the settlement

agreement.

 Sarah Clark                               Century Financial Services, Inc.

 /s/ Sergei Lemberg                        /s/ Sabato P. Fiano

 Sergei Lemberg, Esq. (Juris No.           Sabato P. Fiano
 425027)                                   Zeldes, Needle & Cooper, P.C.
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Attorney for Plaintiff




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                              CERTIFICATE OF SERVICE

        I hereby certify that on January 5, 2016, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the
District of Connecticut Electronic Document Filing System (ECF) and that the document
is available on the ECF system.

                                         By /s/ Sergei Lemberg
                                              Sergei Lemberg
